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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    TROYCE MANASSA,

            Plaintiff,                                       Case No.: 1:20-cv-03172-RLY-MJD

    v.

    NATIONAL COLLEGIATE ATHLETIC
    ASSOCIATION,

            Defendant.



                                     STATEMENT OF CLAIMS

         Pursuant to the Court’s Case Management Orders, ECF Nos. 132, 170, Plaintiff

  respectfully submits the following statement of claims he intends to prove at trial:

         Plaintiff Troyce Manassa brings his claims on behalf of himself and similarly situated

  Black student-athletes at Historically Black Colleges and Universities (HBCUs). More

  specifically, he brings this action on behalf of two putative classes, which are currently the

  subject of Plaintiff’s fully briefed motion for class certification: (1) All Black student-athletes

  who participated in Division I HBCU athletic teams that were subject to a postseason access ban

  penalty due to the NCAA’s Academic Performance Program from the 2010-11 school year

  through the date of class certification (the “Liability Class”) and (2) All Black student-athletes

  participating in Division I HBCU athletic teams since December 10, 2020 (the “Injunctive Relief

  Class,” collectively, with the Liability Class, the “Class”).
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         Plaintiff intends to prove two claims at trial:

         1.      § 1981: The National Collegiate Athletic Association (NCAA) intentionally

  discriminated against the Class through its Academic Performance Program (APP). The Class

  comprises Black student-athletes at HBCUs, i.e., members of a racial minority. Each Class

  member had a contractual relationship with the NCAA. The NCAA intentionally discriminated

  against the Class by designing and implementing a non-negotiable APP. The NCAA’s intentional

  discrimination will be established through the presentation of circumstantial evidence of

  discrimination including, but not limited to: 1) long-standing statistically significant disparities

  on the Class; 2) a historical background regarding the design and conversion from individual

  student-athlete academic programs to team-based academic programs, including the

  discriminatory predecessor academic programs, the key participants and architects of the

  program, and the sequence of events before, during, and after the APP’s genesis; 3) the NCAA’s

  procedural and substantive irregularities and departures regarding the APP’s design and/or

  implementation; and 4) the contemporary statements and actions of key individuals that evidence

  inconsistencies regarding the purpose of the APP and its components, and their knowledge of the

  APP’s harm on Black student-athletes at HBCUs. The NCAA’s discrimination violates 42

  U.S.C. § 1981 and injured Plaintiff and the Class.

         2.      § 1985: The NCAA conspired to deprive Class members of their rights and

  privileges, including the rights and privileges afforded to white student-athletes at non-HBCU

  institutions. It did so by engaging in conduct that constituted a discriminatory pattern and which

  permeated the ranks of its employees. More specifically, the NCAA (and its employees and

  agents) developed and implemented an intentionally discriminatory program – the APP – which

  discriminated against and negatively impacted the Class. The NCAA has a history of developing




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  and implementing academic programs (predecessors to the APP) that disparately impact and

  intentionally discriminate against Black student-athletes. NCAA employees of various ranks

  were involved in these discriminatory actions. This conduct violates 42 U.S.C. § 1985 and

  injured Plaintiff and the Class.

          At trial, the Class will seek a class-wide determination of liability; equitable relief; an

  award of costs, attorneys’ fees, and prejudgment interest; and any such other and further relief as

  the Court deems just and proper. In addition, the Injunctive Relief class will seek injunctive

  relief. Plaintiff and the Liability Class intend to defer damages to separate trials to take place

  after a determination of liability.

          Plaintiff respectfully requests leave to amend this statement of claims, if necessary, after

  the Court’s rulings on Plaintiff’s pending motion for class certification and/or its ruling on any

  forthcoming motions for summary judgment, should those orders change the scope of the Class

  or claims.




  DATED: May 30, 2023                                    Respectfully submitted,

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